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 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                   CRIMINAL 07-156 (ADC)
 7        [3] EMARC PACHECO-CORREA

 8        Defendant.
 9
10                       MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                             RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
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12   I.         Procedural Background
13              On April 11, 2007, a grand jury returned a two-count indictment against Emarc Pacheco-Correa
14   (hereinafter referred to as “defendant”) and eleven (11) other individuals. Docket 2. On August 22,
15   2007, defendant filed a motion for change of plea. Docket 130.
16              The defendant has agreed to plead guilty to count one of the indictment. Count one charges that
17   beginning in or about 2000, the exact date being unknown to the Grand Jury, and continuing up to and
18   until return of the instant indictment, in the District of Puerto Rico, elsewhere, and within the
19   jurisdiction of this Court, defendant Emarc Pacheco-Correa along with other co-conspirators, did
20   knowingly and intentionally combine, conspire, agree, and confederate with each other and with diverse
21   other persons known and unknown to the grand jury, to commit and offense against the United States,
22   that is, to knowingly and intentionally possess with intent to distribute fifty (50) grams or more of a
23   mixture or substance containing a detectable amount of cocaine base, a Schedule II Narcotic Drug
24   Controlled Substance within one thousand (1,000) feet of the real property comprising a housing
25   facility owned by a public housing authority, that is, the Pedro Rosario Nieves Housing Public Project
26   or a public elementary school, all in violation of Title 21,United States Code, Section 841(a)(1) and
27   (b)(1)(A)(iii), 846 and 860.
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 2     II.        Consent to Proceed Before a Magistrate Judge
 3                On September 4, 2007, while assisted by attorneys Johnny Rivera, Esq., and Luis Lugo-
 4     Emmanuelli, Esq., the defendant, by consent, appeared before the undersigned in order to change his
 5     previous not guilty plea to a plea of guilty as to count one of the indictment.
 6                In open court the defendant was questioned as to the purpose of the hearing being held and was
 7     advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be conducted
 8     under oath and that it was expected that his answers would be truthful; (c) the potential consequences
 9     of lying under oath (such as a perjury charge); and (d) his right to have the change of plea proceedings
10     presided by a district judge instead of a magistrate judge. The defendant was also explained the
11     differences between the appointment and functions of the two. The defendant consented to proceed
12     before the undersigned magistrate judge.
13     III.       Proceedings Under Rule 11, Federal Rules of Criminal Procedure
14                A.     Rule 11(c)(1) Requirements
15                        Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
                  guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
16                guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
                  knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
17                guilty does so with an ‘understanding of the nature of the charge and consequences of
                  his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
18                McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
                  in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
19                knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
                  F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
20
       United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
21
                  In response to further questioning, defendant was explained and he understood that if convicted
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       on count one he will face twice the following maximum penalties: a term of imprisonment of not less
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       than ten (10) years or not more than life, a fine not to exceed four million dollars ($4,000,000.00), and
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       a term of supervised release of at least five (5) years.1 Defendant was also made aware that the court
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                        The maximum penalties are twice those applicable under 21 U.S.C. §841 because the defendant has also
27 been charged un Section 860 of Title 21 of the United States Code. Although the plea agreement indicates that the defendant
     is not pleading guilty to “Section 860's enhancement” and that the parties have stipulated an amount of drugs lower than the
28 quantity charged in count one of the indictment , the defendant was warned, and he understood, that the court is not bound by
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 2    must impose a mandatory penalty assessment of one hundred dollars ($100) per offense pursuant Title
 3    18, United States Code, Section 3013(a).
 4             The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 5    in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 6    him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
 7             The defendant acknowledged that at this stage no guarantees or promises as to the sentence to
 8    be imposed had been made to him. The defendant was also explained what the supervised release term
 9    means and was urged to cooperate with the United States Probation Office.
10             B. Admonishment of Constitutional Rights
11             To assure defendant’s understanding and awareness of his rights, defendant was advised of his
12    right:
13             1.    To remain silent at trial and be presumed innocent, since it is the government who has the
14    burden of proving him guilt beyond a reasonable doubt.
15             2.    To testify or not to testify at trial, and that no adverse inference could be made in relation
16    to his decision not to testify.
17             3.    To a speedy trial before a district judge and a jury, at which he would be entitled to see and
18    cross examine the government witnesses, present evidence on his behalf, and challenge the
19    government’s evidence.
20             4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
21 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
22             5.   To use the subpoena power of the court to compel the attendance of witnesses.
23             Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
24 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
25 that defendant is aware of his constitutional rights.
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28 any stipulation or recommendation of the plea agreement and that the maximum statutory penalties are those mentioned above.
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 2          C. Consequences of Pleading Guilty
 3          Upon advising defendant of his constitutional rights, he was further advised of the consequences
 4 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
 5 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
 6 his statement that he is guilty.
 7          Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
 8 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
 9 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
10 be required to serve an additional term of imprisonment. He was also explained that parole has been
11 abolished.
12          D. Plea Agreement
13          The parties have entered into a written plea agreement that, upon being signed by the
14 government, defense attorney and defendant, was filed and made part of the record. Defendant was
15 clearly warned and recognized having understood that:
16          1.   The plea agreement is not binding upon the sentencing court.
17          2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
18 for the government which is presented as a recommendation to the court in regards to the applicable
19 sentencing adjustments and guidelines, which are advisory.
20          3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
21 guideline computation, that can be either accepted or rejected by the sentencing court.
22          4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
23 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
24 maximum possible penalty prescribed by statute.
25          Defendant acknowledged having understood this explanation.
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 1                                                     5
 2          E. Government's Evidence (Basis in Fact)
 3          The government presented a proffer of its evidence as stated in the version of facts of the plea
 4 agreement with which the defendant concurred. The prosecutor clarified that the portion of the version
 5 of facts that states that “these transaction did not take place within 1,000 feet from the Pedro Rosario
 6 Public Housing Project” refers to two drug transactions in which the defendant sold drugs to a
 7 confidential informant. Defendant furthermore admitted that he engaged in the offense charged
 8 knowingly and intentionally, that is not by accident or mistake, but rather fully aware of what he was
 9 doing. Accordingly, it is determined that there is a basis in fact and evidence to establish all the
10 elements of the offense charged.
11          F. Voluntariness
12          The defendant accepted that no threats had been made to induce him to plead guilty and that he
13 did not feel pressured to plead guilty. He came to the hearing for the purpose of pleading guilty and
14 listened attentively as the prosecutor outlined the facts which would have been proven had the case
15 proceeded to trial.
16   IV.    Conclusion
17          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
18 Criminal Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning
19 and examining the defendant under oath and in open court, concerning each of the subject matters
20 mentioned in Rule 11, as described in the preceding sections, I find that defendant Emarc Pacheco-
21 Correa is competent to enter this guilty plea, is aware of the nature of the offense charged and the
22 maximum statutory penalties that the same carries, understands that the charge is supported by the
23 government’s evidence, has admitted to every element of the offense charged, and has done so in an
24 intelligent and voluntary manner with full knowledge of the consequences of his guilty plea.
25          Therefore, I recommend that the court accept the guilty plea of the defendant and that the
26 defendant be adjudged guilty as to count one of the indictment.
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 2          This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(d)
 3 of the Local Rules of Court. Any objections to the same must be specific and must be filed with the
 4 Clerk of Court within ten (10) days of its receipt. Rule 72(d), Local Rules of Court; Fed. R. Civ. P.
 5 72(b). Failure to timely file specific objections to the report and recommendation is a waiver of the right
 6 to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
 7          SO RECOMMENDED.
 8          At San Juan, Puerto Rico, this 5th day of September, 2007.
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                                                   s/Marcos E. López
10                                                 MARCOS E. LÓPEZ
                                                   UNITED STATES MAGISTRATE JUDGE
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